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                                                                     Annual Escrow Account
                                                                      Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                       ACCOUNT NUMBER:
  866-581-4514
  bsi.myloanweb.com                                              004

                                                                              DATE: 09/24/22

                                              6
           SHANTELL JOSEPH                                                   PROPERTY ADDRESS
           11111 AMBERGATE DR                                                11111 AMBERGATE
           HUMBLE, TX 77396                                                  HUMBLE, TX 77396



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 11/01/2022
THROUGH 10/31/2023.
          -------- ANTICIPATED PAYMENTS FROM ESCROW 11/01/2022 TO 10/31/2023 ---------
COUNTY TAX                                                     $1,371.39
SCHOOL                                                         $2,066.69
UTILITY                                                        $1,296.60
TOTAL PAYMENTS FROM ESCROW                                     $4,734.68
MONTHLY PAYMENT TO ESCROW                                         $394.55
          ------ ANTICIPATED ESCROW ACTIVITY 11/01/2022 TO 10/31/2023 ---------
                ANTICIPATED PAYMENTS                                                         ESCROW BALANCE COMPARISON
MONTH      TO ESCROW            FROM ESCROW               DESCRIPTION                 ANTICIPATED             REQUIRED

                                                  STARTING BALANCE -->              $7,808.75                  $4,340.13
NOV            $394.55                                                              $8,203.30                  $4,734.68
DEC            $394.55                                                              $8,597.85                  $5,129.23
JAN            $394.55                $1,371.39 COUNTY TAX                          $7,621.01                  $4,152.39
                                      $2,066.69 SCHOOL                              $5,554.32                  $2,085.70
                                      $1,296.60 UTILITY                        L1-> $4,257.72             L2->   $789.10
FEB            $394.55                                                              $4,652.27                  $1,183.65
MAR            $394.55                                                              $5,046.82                  $1,578.20
APR            $394.55                                                              $5,441.37                  $1,972.75
MAY            $394.55                                                              $5,835.92                  $2,367.30
JUN            $394.55                                                              $6,230.47                  $2,761.85
JUL            $394.55                                                              $6,625.02                  $3,156.40
AUG            $394.55                                                              $7,019.57                  $3,550.95
SEP            $394.55                                                              $7,414.12                  $3,945.50
OCT            $394.55                                                              $7,808.67                  $4,340.05
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $3,468.62.
                                        CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                   $479.12
ESCROW PAYMENT                                                                    $394.55
NEW PAYMENT EFFECTIVE 11/01/2022                                                  $873.67
YOUR ESCROW CUSHION FOR THIS CYCLE IS $789.10.



                                  ********** Continued on reverse side ************




           Our records indicate that you have filed for Bankruptcy protection. As a result of your
           Bankruptcy filing, escrow account deficiencies prior to your filing date have been removed
           from calculation of your analysis, and they are now reflected as amounts due within your
           pre-petition arrearage. This Escrow Analysis Statement was prepared under the
           assumption that all escrow payments have been made in the amount required each
           month. The surplus funds indicated above are not an accurate reflection of your escrow
           account because no surplus funds will exist until all amounts are received towards your
           pre-petition arrearage.
                                                                                                                                                                                                 PAGE 2 OF 2
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                                                ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 10/01/2021 AND ENDING 09/30/2022. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 10/01/2021 IS:
   PRIN & INTEREST                                                                                                                          $479.12
   ESCROW PAYMENT                                                                                                                           $388.48
   BORROWER PAYMENT                                                                                                                         $867.60
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                         $3,884.81                        $6,379.71
   OCT                  $388.48                     $556.74 *                                                                                                              $4,273.29                        $6,936.45
   NOV                  $388.48                     $556.74 *                                                                                                              $4,661.77                        $7,493.19
   DEC                  $388.48                     $388.48                                                $2,066.69 * SCHOOL                                              $5,050.25              A->       $3,146.99
   DEC                                                                                                     $1,371.39   COUNTY TAX
   DEC                                                                                                     $1,296.60   UTILITY
   JAN                  $388.48                     $776.96 *                  $1,348.45                               COUNTY TAX                                 T->          $776.96                      $3,923.95
   JAN                                                                         $2,052.68                               SCHOOL
   JAN                                                                         $1,260.64                               UTILITY
   FEB               $388.48                      $388.48                                                                                                                  $1,165.44                        $4,312.43
   MAR               $388.48                      $388.48                                                                                                                  $1,553.92                        $4,700.91
   APR               $388.48                      $388.48                                                                                                                  $1,942.40                        $5,089.39
   MAY               $388.48                      $388.48                                                                                                                  $2,330.88                        $5,477.87
   JUN               $388.48                      $388.48                                                                                                                  $2,719.36                        $5,866.35
   JUL               $388.48                      $388.48                                                                                                                  $3,107.84                        $6,254.83
   AUG               $388.48                      $388.48                                                                                                                  $3,496.32                        $6,643.31
   SEP               $388.48
                  __________                      $388.48
                                               __________                    __________                   $3,468.62 * ENMASSE REFUNDS
                                                                                                         __________                                                        $3,884.80                        $3,563.17
                    $4,661.76                    $5,386.76                     $4,661.77                   $8,203.30


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $776.96. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $3,146.99.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   The shortage, if one exists, has been divided to be repaid in equal monthly payments over a 12-month period.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS# 38078.
Customer Care Hours: Monday through Friday 8:00 AM to 10:00 PM EST and Saturday 8:00 AM to 12:00 PM EST
COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, TEXAS DEPARTMENT OF SAVINGS AND
MORTGAGE LENDING, 2601 NORTH LAMAR SUITE# 201, AUSTIN, TEXAS 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT 1-877-276-5550.
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In Re:                                             Case No. 18-33265

 Shantelle D. Young                                 Chapter 13

 Debtors.                                           Judge Christopher M. Lopez

                                  CERTIFICATE OF SERVICE

I certify that on October 6, 2022, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Christopher Todd Morrison, Debtor’s Counsel
          Attyctm2100@yahoo.com

          David G. Peake, Chapter 13 Trustee
          court@peakech13trustee.com

          Office of the United States Trustee
          Ustpregion07.hu.ecf@usdoj.gov

I further certify that on October 6, 2022, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Shantelle D. Young, Debtor
          11111 Ambergate Dr.
          Humble, TX 77396

 Dated: October 6, 2022                             /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
